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                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON

                                         PORTLAND DIVISION


      PACIFIC GULF SHIPPING CO. AND
      MICHAEL ELSE & COMPANY LTD.                 No. 3:18-CV-02076-MO
      IN ITS OWN RIGHT AND AS
      SUBROGEE OF PACIFIC GULF                    In Admiralty
      SHIPPING CO.,

                       Plaintiffs,                PLAINTIFFS’ RESPONSE IN
                                                  OPPOSITION TO MOTION TO DISMISS
           vs.

      ADAMASTOS SHIPPING & TRADING
      S.A., VIGOROUS SHIPPING &
      TRADING S.A., BLUE WALL
      SHIPPING LTD., PHOENIX SHIPPING
      & TRADING S.A., THALASSA
      HOLDINGS S.A., ALASTOR MARINE
      S.A., GEORGE GOURDOMICHALIS,
      and EFSTATHIOS
      GOURDOMICHALIS

                       Defendants.

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              PLAINTIFFS’ RESPONSE IN OPPOSITION TO MOTION TO DISMISS

            COME NOW, Plaintiffs Pacific Gulf Shipping Co. and Michael Else & Company Ltd. in

     its Own right and as subrogee of Plaintiff Pacific Gulf Shipping Co. (“Plaintiffs”), by and through

     undersigned counsel and files this response in opposition to Defendants’ Motion to Dismiss the

     Third Amended Complaint filed on October 29, 2019 (DE 181).

            Plaintiffs respectfully oppose the Motion to Dismiss for the reasons outlined in the

     Response in Opposition to Motion to Dismiss (DE 169), Declaration of Kevin Simon Cooper (DE

     170), and Declaration of Briton P. Sparkman (DE 171) previously filed with this Court.

            WHEREFORE, premises considered, Plaintiffs request that the motion be denied in its

     entirety and that Plaintiffs be granted such other and further relief as is just and proper.


     DATED:         November 11, 2019               Respectfully submitted,

                                                    SCHWABE, WILLIAMSON & WYATT, P.C.



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                                                      Attorneys for Plaintiff,
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                                   CERTIFICATE OF SERVICE

     I hereby certify that I served the foregoing pleading via cm/ECF to all counsel of record in
     accordance with the Fed. Rules of Civil Procedure on this 11th day of November:



                                                      _/s/ Briton P. Sparkman
                                                      Briton P. Sparkman




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